Case 2:21-cv-10467-KSH-JSA Document 8 Filed 06/11/21 Page 1 of 2 PageID: 26




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY
 ROBERT MORGAN
                               Plaintiff
   v.                                                Civil Action No. _21-10467
                                                                       __________________________________________

 GEM RECOVERY SYSTEMS
                               Defendant



                    CORPORATE DISCLOSURE STATEMENT

        The undersigned counsel for ______________________________________________,
                                                   GEM RECOVERY SYSTEMS
        certifies that this party is a non-governmental corporate party and that:


        This party’s parent corporation, and all publicly held corporations owning 10% or
        more of this party’s stock, are listed here:

        _____________________________________________________________________
        AWAR HOLDINGS, INC. (NOT A PUBLICLY TRADED CORPORATION)
        _____________________________________________________________________
        _____________________________________________________________________

                                             OR

        This party does not have a parent corporation, nor is there any publicly held corporation
        that owns 10% or more of this party's stock.


                                                            /S/BRIAN R. DONNELLY
                                                            Signature of Attorney

                                                             913 Route 23, PO Box 275
                                                             Address

                                                            Pompton Plains, NJ 07444
                                                            City/State/Zip

                                                            06/11/2021
                                                            Date




                                                                                   DNJ-CMECF-005 (10/2018)
  Case 2:21-cv-10467-KSH-JSA Document 8 Filed 06/11/21 Page 2 of 2 PageID: 27
Instructions:
1.     Disclosure Statement is to be filed as a separate document.
2.     Select Case Type (Civil) from the menu bar at the top of the ECF screen.
3.     Click on Other Documents.
4.     Select Corporate Disclosure Statement.
5.     Enter the case for which the Disclosure Statement is being filed.
6.     Select the PDF document to file.
7.     Select the party filing the Disclosure Statement.
8.     If applicable insert the name of the Corporate Parent or leave it blank.
9.     Proofread the docket text.
10.    Submit the Disclosure Statement by clicking the NEXT button.
